 4:11-cr-03017-RGK-CRZ         Doc # 16    Filed: 03/30/11   Page 1 of 1 - Page ID # 41




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                  4:11CR3017
                                           )
           v.                              )
                                           )       MEMORANDUM AND ORDER
DOUGLAS D. GEORGE,                         )
                                           )
                  Defendants.              )

     IT IS ORDERED:

     1)    The motion to amend the order setting conditions of release, (filing no. 15),
           is granted.

     2)    The condition of subparagraph (m) of the Order Setting Conditions of
           Release, which required defendant Douglas D. George to “Refrain from any
           possession or use of alcohol,” is deleted. Instead, defendant George is
           required to “Refrain from any excessive consumption of alcohol.”

     3)    In all other respects, the Order Setting Conditions of Release is unaltered and
           remains in effect.

     DATED this 30th day of March, 2011.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
